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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                 Eastern Division

Scott Dolemba
                                              Plaintiff,
v.                                                            Case No.: 1:13−cv−07925
                                                              Honorable Amy J. St. Eve
InSphere Insurance Solutions, Inc., et al.
                                              Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, November 25, 2014:


        MINUTE entry before the Honorable Susan E. Cox: Parties have informed the
Court that they have reached a settlement and no longer need the assistance of the Court.
Status hearing set for 12/3/2014 is stricken. Settlement conference set for 1/7/2015 at 1:00
p.m. is stricken. All matters relating to the referral of this action are resolved; case is
returned to the assigned judge. Referral terminated. Mailed notice (np, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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